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12   Attorneys for Defendant,
13   COUNTY OF FRESNO

14
                         UNITED STATES DISTRICT COURT
15
           EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
16
17   GENERAL SECURITY SERVICES                    Case No. 1:11-cv-00724 AWI MJS
     CORPORATION,
18                                                STIPULATION TO MODIFY
                        Plaintiff,                SCHEDULING ORDER; ORDER
19                                                THEREON
20   vs.

21   COUNTY OF FRESNO,
22                      Defendant.
23
           Plaintiff, GENERAL SECURITY SERVICES CORPORATION (hereinafter
24
     “GSSC”), by and through its attorney Barak Vaughn, Esq. of the Vaughn Legal
25
     Group and Defendant, COUNTY OF FRESNO (hereinafter “County”), by and
26
     through its attorney of record, Michael R. Linden, of the Fresno County Counsel,
27
     do and hereby present the following Stipulation to Agree to Modify the current
28
                                                -1-
                                 Stipulation Modify Scheduling Order
       Case 1:11-cv-00724-MJS Document 31 Filed 06/14/12 Page 2 of 4


 1
     Scheduling Order in the above-captioned action.
 2
                                           RECITALS
 3
           WHEREAS, on September 29, 2011, the Court issued its initial Scheduling
 4
     Order cutting off non-expert discovery on June 1, 2012.
 5
           WHEREAS, on January 13, 2012, Plaintiff propounded on Defendant
 6
     Plaintiff’s Interrogatories (Set One), Requests for Admissions (Set One), and
 7
     Requests for Identification of Documents (Set One).
 8
           WHEREAS, the parties engaged in extensive meet and confer efforts
 9
     regarding he aforementioned discovery.
10
           WHEREAS, the parties stipulated and the Honorable Michael Seng ordered
11
     this Court’s previous Scheduling Order be modified to extend the non-expert
12
     discovery cut-off date from June 1, 2012 to July 6, 2012, and to extend the expert
13
     discovery cut-off date and the last day to file a non-dispositive motion, from August
14
     1, 2012 to August 22, 2012. This Order was filed on May 1, 2012.
15
           WHEREAS, the parties participated in a discovery dispute hearing on May
16
     23, 2012. During the hearing, the parties agreed to extend both expert and non-
17
     expert discovery cut off dates, should it be necessary.
18
           WHEREAS, the parties have met, conferred, and determined non-expert
19
     discovery and non-expert discovery cut-off dates must be extended at least ninety
20
     (90) days; and that all other operative dates in this Court’s existing Scheduling
21
     Order too must be extended at least ninety (90) days.
22
                                        STIPULATION
23
           For good cause showing, IT IS HEREBY STIPULATED AND AGREED, by
24
     and between the parties, through their respective attorneys of record, that:
25
           1.     The non-expert discovery cut-off date is extended from July 6, 2012 to
26
     October 8, 2012.
27
           2.     The expert discovery cut-off date, and the last day to file a non-
28
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                                 Stipulation Modify Scheduling Order
       Case 1:11-cv-00724-MJS Document 31 Filed 06/14/12 Page 3 of 4


 1
     dispositive motion is extended from August 22, 2012 to November 30, 2012.
 2
           3.    The deadline for the disclosure of expert witnesses is extended from
 3
     August 1, 2012 to November 1, 2012.
 4
           4.    The deadline to file a dispositive motion is extended from September
 5
     7, 2012 to December 14, 2012.
 6
           5.    The pre-trial conference date is extended from December 4, 2012 to
 7
     March 4, 2013.
 8
           6.    The trial date is extended from January 29, 2013 to April 1, 2013.
 9
10
     IT IS SO STIPULATED.
11
12   Dated: June 14, 2012                            VAUGHN LEGAL GROUP

13                                                  /s/ Barak Vaughn
14                                                  _____________________________
                                                    Barak Vaughn, Esq.
15                                                  Attorneys for Plaintiff,
16                                                  GENERAL SECURITY SERVICES
                                                    CORPORATION
17
18
     Dated: June 5, 2012                            FRESNO COUNTY COUNSEL
19
20                                                  /s/ Michael Linden
                                                    ______________________________
21                                                  Kevin Briggs
                                                    County Counsel
22                                                  Michael R. Linden
23                                                  Deputy County Counsel
                                                    Attorneys for Defendant,
24                                                  COUNTY OF FRESNO
25
                                     ORDER
26
27               GOOD CAUSE APPEARING, the above Stipulation is approved,
28
                                              -3-
                               Stipulation Modify Scheduling Order
                           Case 1:11-cv-00724-MJS Document 31 Filed 06/14/12 Page 4 of 4


 1   and the Scheduling Order shall be modified to reflect the new stipulated dates set
 2   forth above.
 3
 4
 5   IT IS SO ORDERED.
 6
 7                         Dated:   June 14, 2012                        /s/   Michael J. Seng
                                                                   UNITED STATES MAGISTRATE JUDGE
 8
     DEAC_Signature-END:




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                                                 Stipulation Modify Scheduling Order
